           Case 2:21-cv-03507-JP Document 13 Filed 07/12/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
KELLEY HEFFNER                       :
                                     :
            Plaintiff,               :  CIVIL ACTION
                                     :
            vs.                      :  NO.: 2:21-cv-003507
                                     :
GREENFIELD SENIOR LIVING, et al      :
                                     :
            Defendants               :
____________________________________:


       Plaintiff and Defendants by their undersigned counsel, who are duly authorized to enter

this Stipulation, hereby agree pursuant to Federal Rule of Civil Procedure 41, to dismiss with

prejudice all claims asserted by Plaintiff, each party to bear its own costs and fees.



 s/ Graham F. Baird                                  /s/ Lisa M. Grandner
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 Date: 7/12/2022                                    Date: 7/12/2022




                                               APPROVED BY THE COURT:

                                               ___________________________________
                                               Hon. John R. Padova, U.S.D.J.
